     CASE 0:08-cr-00271-DWF-SER Document 1316 Filed 06/23/17 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                           Criminal No. 08-271(24) (DWF/SER)

                        Plaintiff,
                                                 ORDER MODIFYING CONDITIONS
v.                                                      OF SUPERVISE RELEASE

John Edward Schostag,

                        Defendant.



       The above named Defendant appeared on Wednesday, June 21, 2017, for a Final

Revocation Hearing on a supervised release violation. At the hearing, the Defendant

denied the violation.

       IT IS HEREBY ORDERED that the following conditions be added:

       1.     The defendant shall not purchase, possess, use, distribute or administer

       marijuana or obtain or possess a medical marijuana card or prescription. This

       condition supersedes standard condition number 7 with respect to marijuana only.

       2.     The defendant shall perform 14 hours of community service, as approved by

       the probation officer.

       3.     The defendant shall make a good faith effort to obtain and work with an AA

       or NA sponsor.

       4.     The defendant shall participate in at least one 12-step meeting per week.
    CASE 0:08-cr-00271-DWF-SER Document 1316 Filed 06/23/17 Page 2 of 2



       All other previously imposed terms and conditions of supervised release shall

remain in effect until the term of supervised release ends.



Dated: June 23, 2017                             s/Donovan W. Frank
                                                 DONOVAN W. FRANK
                                                 United States District Judge




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